MAGISTRATE’S CRIMINAL MINUTES
COMPLAINT

DATE: al glay @

TAPE: FTIR @ 2:3"

TIME IN COURT: 3le mins

MAGISTRATE JUDGE CATHERINE M. SALINAS ANGELA SMITH DEPUTY CLERK
CASE NUMBER _\.24- wi -2¢4 DEFENDANT'S NAME _ Ervin Lee Bolling
AUSA __Kadie “Terry DEFENDANT'S ATTY _leKiye. Wheeler

_ Type Counsel (circle) Retained CJA CFDP) WAIVED
USPO/PTR_ Emma Moses

____Initial appearance hearing heid.

___ Interpreter sworn.
COUNSEL

___._ ORDER appointing Federal Defender as counsel for defendant. (

INITIAL APPEARANCE)
ORDER appointing as counsel for defendant.

ORDER defendant to pay attorney's fees as follows:

ORDER giving defendant to employ counsel { ) Verbal ( ) cc by courtroom deputy

PRELIMINARY HEARING
Preliminary hearing set/reset/cont to @

Defendant WAIVES preliminary hearing. WAIVER FILED.
v Preliminary hearing HELD. v Probable cause found: defendant held to District Court.
Miscellaneous:

BOND/PRETRIAL DETENTION HEARING
Government Motion for Detention filed. Pretrial Detention Hearing set for @

Temporary Commitment issued. Remanded to USM.
¥_Bond/Pretrial detention hearing Bad. @odinuyd until Yfasley €C 2100 em.

___ Government Motion for detention GRANTED DENIED.

___Pretrial detention ordered. (Written order to follow ds.

_____BOND set at $ NON SURETY SURETY
cash property corporate surety ONLY

__._SPECIAL CONDITIONS:

Bond filed, defendant released.
Bond not executed, defendant to remain in Marshal’s custody.
Motion (verbal ) to reduce/revoke bond hearing held.

Motion to reduce/revoke bond GRANTED DENIED

SEE PAGE 2

Ervin Lee

PAGE 2

Defendant: Bolling

Case No.: n24-M)- 284

Date: 4 | el 2y

WITNESSES:
Gi- Mothew Upshaw: Far Aagut

EXHIBITS:

Gl- Copy of Criminal esmplaint I. 24-m)-284- Admitted

Original Exhibits RETAINED by theCout ~/

RETURNED to counsel
